

Stewart v Amber (2022 NY Slip Op 05777)





Stewart v Amber


2022 NY Slip Op 05777


Decided on October 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 13, 2022

Before: Kapnick, J.P., Webber, Oing, González, Kennedy, JJ. 


Index No. 101532/19 Appeal No. 16399 Case No. 2021-03961 

[*1]Linda Jean Stewart, Plaintiff-Appellant,
vToni Amber, Also Known as Toni Bernstein and Cybella Clare, Defendant-Respondent.


Advocates for Justice, Chartered Attorneys, New York (Laine Alida Armstrong of counsel), for appellant.
Ira Levine, Massapequa (Stan L. Goldberg of counsel), for respondent.



Order, Supreme Court, New York County (Debra James, J.), entered October 20, 2021, which granted defendant's motion to dismiss the complaint pursuant to CPLR 3211 (a) (5), unanimously affirmed, without costs.
The court correctly determined that plaintiff's breach of contract claim was time-barred. The allegations in the complaint, even accepted as true and viewed in the light most favorable to plaintiff, established that the claim accrued at the latest in 2010 (see Hahn Automotive Warehouse, Inc. v American Zurich Ins. Co., 18 NY3d 765, 770-771 [2012]). Because this action was brought more than six years later, it was untimely (CPLR 213 [2]).
We have considered plaintiff's remaining contentions and find them unavailing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 13, 2022








